        Case 6:20-cv-00815-ADA Document 73-1 Filed 06/05/21 Page 1 of 1




                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF TEXAS
                                       WACO DIVISION


WSOU INVESTMENTS, LLC D/B/A                           Nos. 6:20-cv-00812-ADA
BRAZOS LICENSING AND DEVELOPMENT,                          6:20-cv-00813-ADA
                                                           6:20-cv-00814-ADA
               Plaintiff,                                  6:20-cv-00815-ADA
                                                           6:20-cv-00902-ADA
       v.                                                  6:20-cv-00903-ADA
JUNIPER NETWORKS, INC.,                               JURY TRIAL DEMANDED
               Defendant.


DECLARATION OF SARAH G. HARTMAN IN SUPPORT OF WSOU INVESTMENTS,
LLC D/B/A BRAZOS LICENSING AND DEVELOPMENT’S SURREPLY TO JUNIPER
 NETWORKS, INC.’S MOTION TO TRANSFER VENUE UNDER 28 U.S.C. § 1404(a)

I, Sarah G. Hartman, hereby declare as follows:

       1.      I am a partner at the law firm of Brown Rudnick LLP and counsel of record for

Plaintiff WSOU Investments LLC d/b/a Brazos Licensing and Development in these cases. I

have personal knowledge of the facts set forth in this declaration and, if called as a witness,

could and would testify competently to such facts under oath.

       2.      Attached hereto as Exhibit 1 is a true and correct copy of relevant pages of the

transcript of the May 13, 2021 deposition of Matthew Hogan, which is designated HIGHLY

CONFIDENTIAL-ATTORNEYS’ EYES ONLY. The relevant portions have also been

highlighted for the Court’s convenience.

       I declare under penalty of perjury that the foregoing is true and correct.

Executed on May 30, 2021 in Los Angeles, California.




                                                  Sarah G. Hartman
